                                Exhibit A




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                                          Exhibit E


                      UNITED STATES BANKRUPTCY COURT
                       FOR THE DISTRICT OF NEW MEXICO
             In re: The Roman Catholic Church of the Archdiocese of Santa
              Fe, a New Mexico Corporation Sole (Archdiocese of Santa Fe)
                                Case No. 18-13027-t11

            YOU MAY HAVE A SEXUAL ABUSE CLAIM OR
            UNSECURED CLAIM AGAINST THE ARCHDIOCESE OF
            SANTA FE

            On December 3, 2018, The Roman Catholic Church of The
            Archdiocese of Santa Fe, (“Debtor”) filed for protection under
            Chapter 11 of Title 11 of the United States Code.

            THE LAST DAY TO FILE A SEXUAL ABUSE CLAIM OR
            UNSECURED CLAIM AGAINST THE DEBTOR IS JUNE 17,
            2019 AT 5:00 P.M. (PREVAILING MOUNTAIN TIME).

            IF YOU WERE SEXUALLY ABUSED BY ANY PERSON
            CONNECTED WITH THE DEBTOR OR HAVE AN
            UNSECURED CLAIM AGAINST THE DEBTOR, YOU MUST
            FILE A CLAIM BY JUNE 17, 2019 AT 5:00 P.M.
            (PREVAILING MOUNTAIN TIME).

            For more information on how to obtain and file a proof of claim for
            and associated documents please (a) visit the Debtor’s website at
            https://archdiosf.org/; (b) call the Debtor’s hotline at 1-505-831-
            8144; or (c) call the Official Committee of Unsecured Creditors
            appointed in this case at 1-888-570-6217.




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